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From:             Ward, David (USACAN)
To:               Adkins, Robb C.; Charlemagne, Chardaie C.
Cc:               Hosseini, Ilham (USACAN)
Subject:          United States v. Porter - Disclosures
Date:             Monday, February 13, 2023 12:44:37 PM
Attachments:      2021-07-27 Giusti Plea - [UNDER SEAL] Exhibit A (factual basis).pdf




[External Email: Use caution when clicking on links or opening attachments.]

Dear Robb & Chardaie – We write to provide you with the following disclosures related to United
States v. John Porter.

In your motion for a bill of particulars, you asked whether the government considered the paid
internship for Mookie Nuru at Recology, and a Recology-funded internship for Mookie Nuru at
APACC, to be part of the honest services fraud scheme. While the government is not required to
disclose at this point every piece of evidence it may use at trial, because you specifically inquired, we
wanted to let you know that we do see those payments as part of the charged honest services fraud
scheme and conspiracy. Specifically, it is part of the stream of benefits directed at Mohammed Nuru
as referenced in paragraph 7 of the Superseding Indictment. It is also referenced specifically in
paragraph 8 of the original Indictment. As part of the government’s Rule 16 discovery last fall, you
were provided with the relevant documents and witness testimony summaries currently in the
government’s possession regarding these internships. If and when we obtain additional evidence,
that will be disclosed to you promptly.

Second, we asked counsel for Mark Arsenault to make Mr. Arsenault available for an interview. He
declined to do so unless we provided Mr. Arsenault with immunity, which we did not do. Further,
we were told that if called to testify at trial, Mr. Arsenault would assert his Fifth Amendment right
against self-incrimination and refuse to testify. Mr. Arsenault is represented by Winston Chan at
Gibson, Dunn.

Third, the factual basis from Paul Giusti’s plea agreement (paragraph 2) has been unsealed, and we
attach it here.

Please let us know if you have any questions regarding the above.

Sincerely,

Dave & Ilham

David J. Ward
Assistant United States Attorney
U.S. Attorney’s Office for the Northern District of California
Office: (415) 436-6934
Cell: (415) 361-6146
